Case 3:09-cV-Ol487-AWT Document 12 Filed 12/08/09 Page 1 of 3

UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

COLEEN SHACKLEWOOD,

Plaimiff,§
; 3:09 cv 1487 (AWT)
-against- ; ECF CASE
HEALTH RECEIVABLES MANAGEMENT, NOTICE OF MOTION
INC. D/B/A PROGRESSIVE REC()VERY
TECHNIQUES,
Defendant.;

PLEASE 'l`AKE NGTICE, that upon the First Amended Complaint, the
accompanying Memorandum of Law, and all other prior pleadings and proceedings had herein,
defendant Health Receivables l\/Ianagement, lnc., by and through its attorneys, Feder Kaszovitz
LLP, Will move this Court, before the Honorable Alvin W. Thompson, at the United States
Courthouse for the District of Connecticut, Abraham Ribicoff F ederal Building, 450 Main Street,
Suite 24(), Hartford, Connecticut 06103, on a date and time to be set by the Court, for an Grder
and Judgment pursuant to RulelZ(b)(6) of the Federal Rules of Civil Procedure dismissing the
Complaint herein for failure to state a claim upon Which relief can be granted, and granting such

other and further relief as the Court deems just and

Case 3:09-cV-01487-AWT Document 12 Filed 12/08/09 Page 2 of 3

proper.

Dated: New York, New York
December 8, 2009

'l`O: Joanne S Faulkner, Esq.
123 Avon Street
New Haven, Connecticut 0651 l
(203) 772-0395
Attomey for Plaintiff

 

845 Third Avenue
New York, New York 10022
(212) 888-8200

Toby l\/I. Schaffer

# 303()68; CT 06076
Shapiro & Siegel, P.C.
733 Summer Street
Stamford, CT 06901
(2()3) 327-2273

Case 3:09-cV-01487-AWT Document 12 Filed 12/08/09 Page 3 of 3

()RDER
The foregoing motion to dismiss having been heard by the Couit, it is hereby
Ordered: Granted/Denied
THE COURT

By:

 

This is to certify that a copy of the foregoing motion was mailed on December 8, 2009, to
plaintiff s attorney:

Joanne S. Faulkner, Esq.
123 Avon Street
New Haven, Connecticut 0651 l

re
Feder it LP

845 Third Avenue

New York, New York 10022

